        Case 2:16-cv-15961-LMA-DEK Document 8 Filed 08/10/21 Page 1 of 1


                                  UNrrEo Srarps DrsrRrcr Counr
                                  Ensrr,RN Drsrrucr or LoursrRNa



Canol L. MrcHel                                                                    500 PovonAS Sr., RooHa C- 15   1


Cr-Enr op CouRr                                                                      New OnueRNs, LA 70130
                                             August 10,2021


   In re: BIER v. JOHNSON & JOHNSON, INC
          1   6-cv- 1 596   1




   Dear Counsel,

          I have been contacted by Judge Lance Africk who presided over the above-mentioned case

          Judge   Africk informed me that it has been brought to his attention that while he presided
   over the case, his wife owned stock in Johnson & Johnson, Inc. Her ownership of stock neither
   affected nor impacted his decisions in this case. However, her stock ownership would have
   required recusal under the Code of Conduct for United States Judges, and thus, Judge Africk
   directed that I notify the parties of the conflict.

          Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee,
   provides the following guidance for addressing disqualification that is not discovered until after a
  judge has participated in a case:

                [A]judge should disclose to the parties the facts bearing on disqualification as
                soon as those facts are learned, even though that may occur after entry of the
                decision. The parties may then determine what relief they may seek and a court
                (without the disqualified judge) will decide the legal consequence, if any,
                arising from the participation of the disqualified judge in the entered decision.

          Although Advisory Opinion 71 contemplated disqualification after a Court of Appeals oral
   argument, the Committee explained "[s]imilar considerations would apply when a judgment was
   entered in a district court by a judge and it is later learned that the judge was disqualified."

           With Advisory Opinion 71 in mind, you are invited to respond to Judge Africk's disclosure
   of a conflict in this case. Should you wish to respond, please submit your response on or before
   August 25,2021. Any response will be considered by another judge of this court without the
   participation of Judge Africk.

                                                          Sincerely,


                                                          C**Xfu*
                                                          Carol L. Michel
                                                          Clerk of Court

   CLM:hpt
